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Exhibit 94
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Atlas <HDQOW5Y@AtlasAir.com>
Subject:        SCHEDULE REVISION

Good day all,

Due to crew additional rest requirement please note the revised schedule for
All Dates/Times in UTC


Date                   Flight          DEP      ARR       DEP      ARR       Flight
                                       Stn      Stn       Time     Time      Delays
--------------                                        -----------------------------
08.28.2017                                                 2:00    11:54     38:34
08.28.2017                                                13:55    22:15     38:05
08.28.2017                                                23:15     6:05     37:20
08.29.2017                                                 8:05    10:50     42:50
08.29.2017                                                12:50    21:35     33:00
08.29.2017                                                22:10     8:20     31:50
08.30.2017                                                10:35    21:25     29:15
08.30.2017                                                23:25     2:05     30:05
08.31.2017                                                 4:05    12:25     16:20
08.31.2017                                                13:25    19:00     15:45



Benny Moses | Operations Controller | System Operations Control
ATLAS AIR       | Global Control Center | 24hr Phone: +1-914-701-8050
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